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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            RICHMOND DIVISION


UNITED STATES OF AMERICA

v.                                          CRIMINAL CASE NO. 3:22CR132-3

HERMAN TYRONE WASHINGTON,
               Defendant.


               ORDER ADOPTING REPORT AND RECOMMENDATIONS

       This matter is before the Court for consideration of a report and

recommendation      by   the   Magistrate    Judge   regarding   the    Magistrate

Judge's acceptance of the Defendant's pleas of guilty to the specified

charges in the pending matter pursuant to a Fed.                 R.   Crim.   P.   11

proceeding conducted by the Magistrate Judge with the consent of the

Defendant and counsel.         It appearing that the Magistrate Judge made

full inquiry and findings pursuant to Rule 11; that the Defendant was

given notice of the right to file specific objections to the report

and    recommendation     that has been      submitted    as a    result of the

proceeding;     and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

       ORDERED that the report and recommendation of the Magistrate Judge

is ADOPTED and the Defendant is found guilty of Counts ONE (1) and

THIRTY-TWO (32) of the Indictment.

                                                 /s/
                                       Robert E. Payne
                                       Senior United States District Judge

Date: March    2:1,
Richmond, Virginia
                  2023
